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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
CELGENE CORPORATION,                 )
                                     )
                  Plaintiff,         )
                                     )
            v.                       )  Civil Action No. 02-2277 (RBW)
                                     )
      JAMES E. ROGAN,                )
                                     )
                  Defendant.         )
____________________________________)

       ORDER ADMITTING STEPHEN S. RABINOWITZ PRO HAC VICE

       It appearing to the Court that Stephen S. Rabinowitz, attorney-at-law, states by

declaration that he meets the requirements for admission Pro Hac Vice in this case and he is in

good standing to practice in the State of New York,

       IT IS HEREBY ORDERED that the Motion for Admission Pro Hac Vice of Stephen S.

Rabinowitz to appear in the United States District Court for the District of Columbia in the above

captioned case is hereby granted.

       SO ORDERED on this 24th day of January, 2003.


                                                            REGGIE B. WALTON
                                                            United States District Judge
